               IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

JOAQUÍN CARCAÑO, PAYTON GREY                )
MCGARRY;    HUNTER    SCHAFER;              )
MADELINE GOSS; ANGELA GILMORE;              )
QUINTON HARPER; and AMERICAN                )
CIVIL LIBERTIES UNION OF NORTH              )
CAROLINA,                                   )
                                            )
                  Plaintiffs,               )
                                            )
           v.                               )        1:16cv236
                                            )
ROY COOPER, in his official                 )
capacity as Governor of North               )
Carolina; UNIVERSITY OF NORTH               )
CAROLINA; MARGARET SPELLINGS,               )
in her official capacity as                 )
President of the University of              )
North Carolina; JOSHUA STEIN,               )
in his official capacity as                 )
Attorney   General   of    North            )
Carolina; MACHELLE SANDERS, in              )
her   official    capacity    as            )
Secretary of the North Carolina             )
Department of Administration;               )
MANDY K. COHEN, in her official             )
capacity as Secretary of the                )
North Carolina Department of                )
Health and Human Services; and              )
JAMES H. TROGDON III, in his                )
official capacity as Secretary              )
of    the     North    Carolina             )
Department of Transportation                )
                                            )
                  Defendants,               )
                                            )
                and                         )
                                            )
PHIL BERGER, in his official                )
capacity as President Pro                   )
Tempore of the North Carolina               )
Senate; and TIM MOORE, in his               )
official capacity as Speaker                )
of the North Carolina House of              )
Representatives,                            )




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                                                   )
Intervenor-Defendants.                             )

                        MEMORANDUM OPINION AND ORDER

THOMAS D. SCHROEDER, Chief District Judge.

     This case originated as a challenge to North Carolina’s Public

Facilities Privacy & Security Act, 2016 N.C. Sess. Laws 3, commonly

known as House Bill 2 (“HB2”), which required, among other things,

that public agencies ensure that multiple occupancy restrooms,

showers, and other similar facilities be “designated for and only

used by” persons based on the “biological sex” listed on their

birth certificate.       That law was repealed during the pendency of

this action, and Plaintiffs eventually filed a Fourth Amended

Complaint (Doc. 210), claiming that the repealing law, 2017 N.C.

Sess. Laws 4, commonly known as House Bill 142 (“HB142”), violates

their Fourteenth Amendment rights, as well as Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681 et seq. (“Title

IX”) and Title VII of the Civil Rights Act of 1964, 42 U.S.C.

§ 2000e    et   seq.    (“Title    VII”)    (id.   ¶¶     1,    35).     In    short,

Plaintiffs,     who    include    persons   who    identify      as    transgender,

allege two principal forms of injury.                  First, they contend that

they are injured by legal uncertainty as to which restrooms,

showers,   and    changing   facilities      they       are    permitted      to   use.

Second,    they   contend    that   they    are    injured      both    by    HB142’s

preemption of attempts by any local government to “enact or amend


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an ordinance regulating private employment practices or regulating

public accommodations,” HB142 § 31 (“Section 3”); and also by

HB142’s prohibition of attempts by any state agency or political

subdivision to “regulat[e] . . . access to multiple occupancy

restrooms, showers, or changing facilities, except in accordance

with an act of the General Assembly,” HB142 § 2 (“Section 2”).

       Before the court are motions to dismiss by Senator Phil Berger

and Speaker Tim Moore (“Intervenor-Defendants”), proceeding in

their official capacities as heads of the General Assembly’s two

chambers (Doc. 221), and by the University of North Carolina

(“UNC”) and its President, Margaret Spellings (together, the “UNC

Defendants”) (Doc. 222).2          The court held a hearing on the motions

on June 25, 2018.

       For   the   reasons   set    forth   below,   the   court   finds   that

Plaintiffs lack standing as to their substantive due process (Count

1), Title IX (Count 6), and Title VII (Count 7) claims based on

alleged legal uncertainty caused by HB142, but do have standing to


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    This provision expires on December 1, 2020.      HB142 § 4.
2 Separately, Plaintiffs have moved jointly with Governor Cooper and
those Defendants associated with his administration for entry of a
consent decree that would declare that transgender persons are not
prevented from using public facilities in accordance with their gender
identity, and permanently enjoining those Defendants and their employees
from prohibiting transgender persons from doing so.     (Doc. 216; Doc.
216-1.) Because Intervenor-Defendants and the UNC Defendants contend
that Plaintiffs lack standing to pursue their claims, the court has
determined that it must first resolve the issue of its subject matter
jurisdiction before entertaining the proposed consent decree. (Doc. 226
at 2.)

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pursue their equal protection (Count 2) claims relating to the

preemption provisions of Sections 2 and 3, except as to President

Spellings.     Further, the court declines to dismiss Plaintiffs’

contingent claims involving HB2 (Counts 3, 4, and 5) at this time

and reserves ruling on Plaintiffs’ nominal damages (Counts 6 and

7) claims for alleged Title VII and IX violations during the time

HB2 was in effect.        As to Count 2, the court finds that Plaintiffs

fail to state a claim based on Section 2, but succeed in stating

a claim based on Section 3.

        As a result, the UNC Defendants’ motion to dismiss will be

granted except as to Plaintiffs’ contingent claims involving HB2

in Counts 3, 4, and 5, and as to Plaintiffs’ claims for nominal

damages in Counts 6 and 7 for the alleged Title VII and IX

violations that occurred while HB2 was in effect.                     Intervenor-

Defendants’    motion     to   dismiss       will   be    granted   except   as   to

Plaintiffs’ equal protection claims based on Section 3 in Count 2,

and as to Plaintiffs’ contingent claims involving HB2 in Counts 3,

4, and 5.

I.    BACKGROUND

      The   facts   are    found   in    the    403      numbered   paragraphs    of

Plaintiffs’ 103-page Fourth Amended Complaint, which is construed

in the light most favorable to Plaintiffs, as well as those matters

of which the court can take judicial notice.                Considered together,

they demonstrate the following:

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       A.     HB2

       On February 22, 2016, the Charlotte City Council amended, by

a   vote     of     seven     to     four,    its    existing    non-discrimination

ordinances, making it unlawful to discriminate on the basis of

“marital      status,       familial    status,      sexual     orientation,      gender

identity,      [and]        gender    expression.”3           (Doc.    127   at     12–13

(alteration in original); see also Doc. 210 ¶ 200.)                     The amendment

also    repealed      prior    rules     that     exempted    “[r]estrooms,       shower

rooms, bathhouses, and similar facilities which are in their nature

distinctly        private”     from    the    city’s    prohibitions      against     sex

discrimination.         (Doc. 127 at 12 (alteration in original).)

       The Charlotte ordinance prompted a quick reaction from then-

Governor Patrick McCrory and the General Assembly.                            Governor

McCrory had informed the Charlotte City Council members before

passage of the ordinance that the State would likely take immediate

action upon the ordinance’s passage, since it would “‘chang[e]

basic    long-established            values   and    norms’     surrounding       ‘public

restrooms’” and present “possible danger from deviant actions by

individuals taking improper advantage of a bad policy.”                      (Doc. 210

¶ 205.)      On February 23, 2016, Speaker Moore announced that he and

fellow      Republicans       would    seek     “a   legislative      intervention     to




3  Charlotte’s   existing   non-discrimination  ordinances   prohibited
discrimination on the basis of race, gender, religion, national origin,
ethnicity, age, disability, and sex. (Doc. 127 at 12 n.5.)

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correct [the Charlotte City Council’s] radical course.”                           (Id.

¶ 206.)     On March 23, 2016, the General Assembly convened for a

special session, during which members of the House Judiciary IV

Committee     —    the     committee     that    first   considered     HB2   —   were

allegedly given only minutes to read HB2 before voting on whether

to send the bill back to the House for a full debate.                   (Id. ¶¶ 211–

215.)      After three hours of debate, the House passed HB2.                     (Id.

¶ 216.)      The bill proceeded to pass unanimously in the Senate,

following a walk-out by all Democratic Senators.                       (Id. ¶ 217.)

Governor McCrory signed the bill into law later that day, and it

became effective immediately.               (Id. ¶ 220.)

      HB2 affected North Carolina law in several ways.                    First, it

modified the State’s non-discrimination laws.                     Previously, the

State had prohibited discrimination on the basis of race, religion,

color, national origin, age, sex, and handicap.                    See HB2 § 3.1.

Part III of HB2 modified this language to prohibit discrimination

on the basis of “biological sex,” defined as “[t]he physical

condition of being male or female, which is stated on a person’s

birth certificate,” rather than simply “sex.”                  HB2 §§ 1.2–1.3, 3.1

(modifying N.C. Gen. Stat. § 143-422.2).                  It also extended these

non-discrimination provisions, which had previously applied only

to   the    State,       to    private      employers    and   places    of     public

accommodation.       See id. §§ 3.1-3.3.           Part III also precluded state

common-law        causes      of   action    for    violations    of    those     non-

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discrimination provisions.         See id. § 3.2.

       Second, Parts II and III of HB2 preempted all local ordinances

that    conflicted    with   the    new   non-discrimination    standards,

including the Charlotte ordinance that prompted HB2’s passage.

Id. §§ 2.1–3.3.      Third, Part I of HB2 explicitly set new rules for

the use of restrooms and changing facilities operated by state

agencies.   Specifically, Part I provided that all public agencies,

including local boards of public education, must “require” that

“every multiple occupancy bathroom or changing facility . . . be

designated for and only used by persons based on their biological

sex,” defined as the “physical condition of being male or female,

which is stated on a person’s birth certificate.”        Id. §§ 1.2-1.3.

       Before HB2 was passed, Plaintiffs maintained, transgender

individuals used the bathrooms they believed aligned with their

gender identity without apparent fear of prosecution under state

law.    (See Doc. 103 at 20–21, (noting that “the status quo was

working for transgender people in that they could make these

judgments [about which bathrooms to use]”), and at 70 (Governor’s

counsel speculating same).)         Under Part I of HB2, North Carolina

law explicitly regulated which bathrooms were available for use by

transgender individuals — the bathrooms that matched the gender

listed on their birth certificates.         HB2 § 1.

       Plaintiffs filed this action on March 28, 2016.         (Doc. 1.)



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       B.      Preliminary Injunction

       On May 16, 2016, Plaintiffs moved to preliminarily enjoin

Defendants from enforcing Part I of HB2, the so-called “bathroom”

provisions.       (Doc. 21.)   After a hearing, the court issued an 83-

page decision on August 26, 2016, granting the motion as to three

individual Plaintiffs employed by UNC.              (Doc. 127).    In doing so,

the    court    noted   that   for   “transgender      individuals    who   used

facilities that did not match the sex listed on their birth

certificate[s],” HB2 foreclosed any argument that they believed

they had permission to enter facilities that matched their gender

identity.      (Id. at 18.)    The court found that the three individual

Plaintiffs were likely to succeed on the merits of their Title IX

claim because the Department of Education (“DOE”) had issued

guidance that “sex” under Title IX included gender identity such

that    covered    institutions      must   treat    transgender   individuals

consistent with their gender identity, which the Fourth Circuit

held in G.G. ex rel. Grimm v. Gloucester Cty. Sch. Bd., 822 F.3d

709, 723 (4th Cir. 2016), vacated and remanded, 137 S. Ct. 1239

(2017) (mem.) required this court’s deference.              (Doc. 127 at 45.)

The court also found that Plaintiffs had not shown that they were

likely to succeed on their equal protection claim and reserved

ruling on their due process claims.           (Doc. 127 at 59–60, 79–81.)

       Plaintiffs subsequently filed a Second Amended Complaint on

September 21, 2016, (Doc. 151) and a Third Amended Complaint on

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November 21, 2016 (Doc. 183).

       In 2017, the DOE withdrew its interpretative guidance, which

led the Supreme Court to vacate the Fourth Circuit’s judgment in

G.G. and remand the case for further consideration. See Gloucester

Cty. Sch. Bd. v. G.G. ex. rel. Grimm, 137 S. Ct. 1239 (2017)

(mem.).     The Fourth Circuit subsequently remanded the case to the

district court, which dismissed all claims for prospective relief

as moot in light of the plaintiff’s graduation from high school,

but    continued     to   consider    claims     for     nominal   damages   and

retrospective declaratory relief.             Grimm v. Gloucester Cty. Sch.

Bd., No. 4:15-CV-54, 2017 WL 9882602 (E.D. Va. Dec. 12, 2017).

       C.    HB142

       As part of an apparent compromise to secure the repeal of

HB2, the Charlotte City Council repealed its non-discrimination

ordinance     on   December    21,   2016,4    shortly    before   the   General

Assembly met in special session to consider the repeal of HB2.

(Doc. 210 ¶¶ 227–33.)         During this special session, a bill which

would have been a “clean repeal” of HB2 — repealing HB2 with no

further conditions — was introduced but was referred to a committee

and never considered.         (Id. ¶ 235.)

       On March 30, 2017, HB142 was passed and signed by Governor



4 A December 19, 2016 repeal was expressly conditioned on the General
Assembly’s repeal of HB2, but due to criticisms that the City’s repeal
was not sufficient, it passed the subsequent repeal two days later.
(Doc. 210 ¶¶ 227-233.)

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Roy Cooper, who had been elected the prior November.             (Doc. 210

¶¶ 224, 244.)      In order to pass the bill quickly, the Senate

employed a process known as “gut and amend,”5 and neither the full

House nor the full Senate heard public comment before voting on

HB142.    (Id. ¶¶ 243–44.)

       HB142 is set out as follows.      Section 1 repeals HB2.       HB142

§ 1.     Section 2 amends Chapter 142 of the North Carolina General

Statutes by adding a new article, Article 81A, § 143-760, which

reads:

       State    agencies,    boards,    offices,    departments,
       institutions, branches of government, including The
       University of North Carolina and the North Carolina
       Community College System, and political subdivisions of
       the State, including local boards of education, are
       preempted from regulation of access to multiple
       occupancy restrooms, showers, or changing facilities,
       except in accordance with an act of the General Assembly.

Id. § 2.    Section 3 provides that “[n]o local government in this

State may enact or amend an ordinance regulating private employment

practices or regulating public accommodations.”         Id. § 3.   Section

4 states that “[t]his act is effective when it becomes law” and

that “Section 3 of this act expires on December 1, 2020.”                  Id.

§ 4.




5
  Specifically, the North Carolina Senate took “an unrelated bill that
had already passed the House, removed the existing language and replaced
it with the text of what is now H.B. 142.” (Doc. 210 ¶ 243.) This
permitted the bill to meet a state requirement that every bill pass a
crossover deadline from one chamber to the other.

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       D.      Fourth Amended Complaint, Proposed Consent Decree, and
               Motion for Leave to File Declaration of Ericka Myers

       On August 29, 2017, in response to the passage of HB142,

Plaintiffs moved, with consent, for leave to file a Fourth Amended

Complaint.       (Doc. 208.)     The motion was granted (Doc. 209), and

Plaintiffs filed their Fourth Amended Complaint on September 7,

2017. (Doc. 210.) The Fourth Amended Complaint asserts that HB142

“is the culmination of a series of actions by North Carolina

lawmakers targeting LGBT individuals, and particularly transgender

individuals, for discrimination” and alleges that HB142 “violates

fundamental guarantees of equal protection and due process in the

U.S. Constitution and statutory prohibitions on discrimination

based on sex under Title IX and Title VII.”               (Id. ¶ 2.)

       Specifically, Count 1 brings a substantive due process claim

against Governor Cooper, Attorney General Joshua Stein, Department

of Administration Secretary Michelle Sanders, Department of Health

and    Human    Services     Secretary   Mandy      K.   Cohen,   Department   of

Transportation Secretary James H. Trogdon (each sued in their

official capacity; hereinafter the “Executive Branch Defendants”)

and Spellings, claiming that (1) HB142 is void for vagueness

because it does not inform transgender individuals whether they

will     be   subject   to   prosecution      for   using   the   restrooms    or

facilities that align with their gender identity and (2) that these

Defendants have taken no action to clarify whether transgender


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individuals will be subject to prosecution for using the restrooms

or facilities that align with their gender identity.             (Id. ¶¶ 297–

312.)      Count 2 brings an equal protection claim against the

Executive    Branch   Defendants     and    Spellings,    claiming      that   the

preemption of state agencies regulating access to restrooms or

other   single-sex,    multiple      user   facilities,    as    well    as    the

preemption of new or amended local non-discrimination protections,

constitute    discrimination    on    the    basis   of   sex   because    these

preemptions deprive transgender individuals of the ability to seek

greater protections at the local level on the same basis as other

groups, are being applied in a discriminatory manner, and were

passed with discriminatory intent.          (Id. ¶¶ 313–44.)     Counts 3, 4,

and 5 challenge HB2, alleging violations of equal protection, the

right to privacy, and liberty and autonomy in the right to refuse

unwanted medical treatment.          (Id. ¶¶ 345–90.)      Count 6 brings a

Title IX claim against UNC, claiming that UNC is a recipient of

federal funds and that it is discriminating on the basis of sex by

failing to ensure that transgender individuals may use restrooms

and changing facilities consistent with their gender identity

without fear of prosecution.         (Id. ¶¶ 391–98.)       Count 7 brings a

Title VII claim against UNC on behalf of Plaintiff Joaquín Carcaño

— a transgender man — claiming that UNC employs him and that it is

discriminating against him on the basis of sex, as described in

Count 6.    (Id. ¶¶ 399–403.)

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     On   October     18,    2017,       Plaintiffs    and   Executive     Branch

Defendants filed a joint motion for the entry of a consent decree.

(Doc. 216.)   The proposed consent decree states that “[u]nder H.B.

142, and with respect to public facilities that are subject to

Executive Branch Defendants’ control or supervision, transgender

people are not prevented from the use of public facilities in

accordance with their gender identity” and that “Executive Branch

Defendants    as    used    in    this     paragraph    shall    include   their

successors, officers, and employees.”            (Id. at 5.)       Further, the

proposed consent decree states the Executive Branch Defendants

“are hereby permanently enjoined from enforcing Section 2 of H.B.

142 to bar, prohibit, block, deter, or impede any transgender

individuals   from    using      public    facilities    under   any   Executive

Branch Defendant’s control or supervision, in accordance with the

transgender individual’s gender identity” and that an individual

who uses a public facility under the control of the Executive

Branch cannot be prosecuted for the otherwise lawful use of the

facility that conforms with the individual’s gender identity.

(Id.)   Lastly, the proposed consent decree states that the parties

shall “bear their own fees, expenses, and costs with respect to

all claims raised by Plaintiffs against the Executive Branch

Defendants” and stipulates to the dismissal of the remaining claims

against the Executive Branch Defendants.               (Id. at 5–6.)



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       On   October   23,   2017,   Intervenor-Defendants6       and   the    UNC

Defendants filed separate motions to dismiss.             (Docs. 221, 222.)

These motions predominantly argue that Plaintiffs lack standing to

bring their claims and that, even if they do have standing,

Plaintiffs have failed to state their claims sufficiently to

survive the motions to dismiss.            Both motions have been fully

briefed and are ready for decision.7          (Docs. 223, 225, 233, 234,

235.)       Lastly,   Plaintiffs    have   moved   for   leave   to    file   the

declaration of Ericka Myers (Doc. 236), a mother of a transgender

student; this motion has also been fully briefed and is ready for

decision (Docs. 237, 240, 241, 242).8

II.    ANALYSIS

       The court will first address the motion for leave to file the

declaration of Ericka Myers, as Plaintiffs claim that the court

should consider that declaration in connection with the motions to

dismiss.     The court will then turn to the motions to dismiss.

       A.    Motion for Leave to File Declaration of Ericka Myers

       In her declaration, Myers states that her eight year-old

daughter is transgender, in that “she was assigned the sex male at


6
  The court granted Intervenor-Defendants’ motion to intervene (Doc. 33)
on June 6, 2016. (Doc. 44.)
7
  The Executive Branch Defendants take no position with respect to the
motions to dismiss.
8 Consistent with its prior orders (Docs. 226, 228) and the requests of
counsel at the June 25, 2018 motions hearing, this order will not address
the joint motion for entry of the consent decree.

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birth,” but “she has known from a young age that she is a girl.”

(Doc. 237–1 ¶ 4.)       Myers explains that her daughter has been

diagnosed with gender dysphoria9 and that her treatment includes

living all aspects of her life as a female. (Id. ¶¶ 5–6.) However,

her daughter’s elementary school, in the New Hanover County School

District in North Carolina, bars her daughter from using the girls’

restroom because she is transgender.       (Id. ¶¶ 3, 7.)    According to

Myers, the school’s principal has explained that this is because

she believes that HB142 makes it illegal for a transgender student

to use a restroom that does not match her birth-assigned sex — or

at least that HB142 “permits schools” to deny such use.         (Id. ¶ 9.)

While Myers’ daughter has been told that she can “use the nurse’s

restroom or the restroom in the teacher’s lounge,” she has declined

to “use either of these restrooms because she feels humiliated and

singled out as different when she is the only student forced to

use them.”   (Id. ¶ 10.)    As a result, and because boys in the boy’s

restroom have told her to “get out because she is in the wrong

place,” her daughter has “struggled to be recognized as her true

self,” “often holds her urine throughout the school day, and uses


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  Gender dysphoria occurs when a transgender individual experiences
emotional, psychological, or social distress because “their deeply felt,
core identification and self-image as a particular gender does not align”
with their birth sex. (See Doc. 22-1 ¶ 19.) For purposes of the present
motion, the court accepts Plaintiffs’ earlier unrebutted evidence that
some transgender individuals form their gender identity misalignment at
a young age and exhibit distinct “brain structure, connectivity, and
function that do not match their birth-assigned sex.” (Id. ¶¶ 18, 21–
22.)

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the restroom as soon as she gets home.”            (Id. ¶¶ 13–14.)

     Plaintiffs    argue   that   the      court   can   consider   the       Myers

declaration in resolving the pending motions to dismiss because

“[w]hen standing is raised as a basis to dismiss, the court ‘may

consider evidence outside the pleadings without converting the

proceeding to one for summary judgment.’”           (Doc. 237 at 4 (quoting

White Tail Park, Inc. v. Stroube, 413 F.3d 451, 459 (4th Cir.

2005)).) Plaintiffs note that this court has considered affidavits

filed by a plaintiff to demonstrate standing in the past.                  Nat’l

All. for Accessibility, Inc. v. Rite Aid of N.C., Inc., No.

1:10CV932, 2011 WL 4499294, at *5 n.5 (M.D.N.C. Sept. 27, 2011)

(“Fourth Circuit authority . . . appears to permit the use of such

affidavits . . . .”).      Plaintiffs argue that the Myers declaration

provides additional evidence that HB142 causes injury.                  (Doc. 237

at 5–6.)   They also point out that no Defendant actually opposes

the request for leave to file the declaration, but instead argue

only that the court should not consider the declaration when ruling

on the motions to dismiss and that the declaration does not support

Plaintiffs’ standing claims.         (Doc. 242 at 1.)

     The   UNC   Defendants    “do    not    oppose      the   filing    of    the

declaration, but do oppose Plaintiffs’ request that the Court

consider [the] declaration when ruling” on their motion to dismiss.

(Doc. 240 at 1.)   They argue that extrinsic evidence, such as that

presented in the Myers declaration, is not relevant to their motion

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to dismiss, as “[t]he question before the Court is . . . the

adequacy of the allegations in the Complaint.”            (Id. at 3.)    This

is because the UNC Defendants claim to have brought a facial

challenge to standing only, and “[a] court may ‘look beyond the

complaint’ only ‘[i]n a factual challenge.’”            (Id. at 2 (quoting

Wikimedia Found. v. NSA, 857 F.3d 193, 208 (4th Cir. 2017)).)            They

further argue that the Myers declaration is “immaterial because it

recounts events that occurred after the filing of the complaint”

and otherwise has no connection to the UNC Defendants.            (Id. at 3–

4.)

       Intervenor-Defendants argue that the Myers declaration would

not help the court in determining standing because the harm

described in the declaration is caused by the officials in the New

Hanover School District, rather than by any Defendant in this case.

(Doc. 241 at 3.)         They also contend that “the mere fact that

certain school officials not before the Court may have mistakenly

identified HB 142 as a basis for their restroom policy cannot

establish that HB 142 legally caused the alleged harms, nor that

a favorable decision in this case would redress those harms.” (Id.

at 4.)

       The Fourth Circuit recently explained the distinction between

facial and factual challenges to standing as follows:

       In a facial challenge, the defendant contends that the
       complaint fails to allege facts upon which standing can
       be based, and the plaintiff is afforded the same

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     procedural protection that exists on a motion to
     dismiss. In a factual challenge, the defendant contends
     that the jurisdictional allegations of the complaint are
     not true. In that event, a trial court may look beyond
     the complaint and in an evidentiary hearing determine if
     there   are   facts   to  support   the   jurisdictional
     allegations.

Wikimedia, 857 F.3d at 208 (citations, internal quotation marks,

and alterations omitted).            In a facial challenge, accordingly,

where the plaintiff receives the presumption that all facts alleged

in the complaint are true, the sole question before the court is

whether “the complaint alleges sufficient facts to invoke subject

matter jurisdiction.”          Kerns v. United States, 585 F.3d 187, 192

(4th Cir. 2009) (emphasis added).              It is only in an evidentiary

hearing      for   a   factual    challenge,    where   “the   presumption   of

truthfulness normally accorded a complaint’s allegations does not

apply,” that “the trial court [has] the discretion to go beyond

the allegations of the complaint . . . [to] determine if there are

facts   to    support    the     jurisdictional    allegations.”     Beck    v.

McDonald, 848 F.3d 262, 270 (4th Cir. 2017) (citations and internal

quotation marks omitted).

     Neither Intervenor-Defendants nor the UNC Defendants base

their arguments for dismissal for lack of standing on the falsity

of any jurisdictional facts alleged by Plaintiffs.              Instead, they

argue that the complaint on its face simply lacks allegations

establishing standing. As a result, the present motions to dismiss

for lack of standing are facial challenges to standing, and the

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court will not consider the Myers declaration in resolving them.10

See N.C. Fisheries Ass’n, Inc. v. Pritzker, No. 4:14-CV-138-D,

2015 WL 4488509, at *3 (E.D.N.C. July 22, 2015) (“[B]ecause this

is a facial challenge, the court will consider only the amended

complaint and its attached materials, and any documents attached

to the motion to dismiss that are integral to the complaint and

authentic.”).

      B.     Motion to Dismiss HB142 Claims for Lack of Standing

      “It    is     well   established          that    standing     is   a   threshold

jurisdictional        issue    that       must    be    determined    first    because

‘[w]ithout jurisdiction the court cannot proceed at all in any

cause.’”     Covenant Media of N.C., L.L.C. v. City of Monroe, 285 F.

App’x 30, 34 (4th Cir. 2008) (quoting Steel Co. v. Citizens for a

Better     Env’t,    523   U.S.     83,    94    (1998)).     The     basic    standing

requirements are that a plaintiff must show that: (1) he or she

has suffered an “injury in fact,” (2) the injury is “fairly . . .

trace[able] to the challenged action of the defendant,” and (3) it

is “likely” that “the injury will be redressed by a favorable

decision.”        Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–61

(1992)      (citations        and     internal         quotation     marks     omitted)

(alteration and omission in original).


10
  Even if the court were to consider it, the Myers declaration does not
provide any appreciable support for Plaintiff’s position on standing,
given that it is based on hearsay and indicates only a third party’s
interpretation of HB142, rather than evidence as to the actual meaning
of HB142.

                                            19



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     The injury in fact “requirement ensures that plaintiffs have

a ‘personal stake in the outcome of the controversy.’”            Kenny v.

Wilson, 885 F.3d 280, 287 (4th Cir. 2018) (citing Warth v. Seldin,

422 U.S. 490, 498 (1975)).      An injury in fact is “‘an invasion of

a   legally     protected     interest’     that      is    ‘concrete      and

particularized’    and   ‘actual   or    imminent,    not   conjectural    or

hypothetical.’”     Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548

(2016) (quoting Lujan, 504 U.S. at 560).        “An allegation of future

injury may suffice if the threatened injury is certainly impending,

or there is a substantial risk that the harm will occur.”               Susan

B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2341 (2014) (citation

and internal quotation marks omitted).               When plaintiffs seek

prospective relief, they must establish an ongoing or imminent

injury in fact.    O’Shea v. Littleton, 414 U.S. 488, 495–96 (1974).

     At bottom, Plaintiffs allege that they have been injured in

two distinct ways: (1) HB142 leaves them uncertain as to which

restrooms or related facilities they are permitted to use, and (2)

HB142 creates a barrier which prevents them from being able to

petition their local governments for protective ordinances, and

which causes them to be regulated unequally by state entities such

as UNC.    The court will address standing as to each claimed injury

in turn.




                                    20



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            1.    Injury by Uncertainty

      Plaintiffs’ first alleged injury is that they are unable to

use public restrooms and accommodations because they are uncertain

about which restrooms they are permitted to use and that this

uncertainty creates a reasonable fear of prosecution for second-

degree trespass.11     (See Doc. 210 ¶¶ 302–12.)       Since HB142 has no

enforcement mechanism — and indeed does not prohibit any possible

course of conduct on the part of Plaintiffs — Plaintiffs rely on

a theory of injury wherein HB142’s preemption of regulation of

restroom access “except in accordance with an act of the General

Assembly,” along with the fact that there is no applicable act of

the General Assembly affirmatively permitting access, “creat[es]

a permanent state of legal uncertainty” (id. ¶ 312) that makes it

impossible for transgender individuals to determine whether they

will be prosecuted under other statutes, such as North Carolina’s

second-degree trespass law (id. ¶¶ 302–12); see also N.C. Gen.

Stat. § 14-159.13.12

      Intervenor-Defendants argue principally that (1) uncertainty

about the law alone does not create an actionable injury; (2)


11
  Although Plaintiffs hint vaguely at fear of prosecution under other
state laws (see, e.g., Doc. 210 ¶ 307 (alleging fear of “criminal or
other penalty”)), the only state law they specify as relevant to their
due process claim is the second-degree trespass statute (id. ¶ 306).
12 In addition, under Section 3, local governments are precluded from
passing any new or amended ordinances regulating public accommodations
or private employment regardless of whether or not such ordinances would
be “in accordance with an act of the General Assembly.” HB142 § 3.

                                     21



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Plaintiffs’ choice not to use government restrooms is a “self-

inflicted injury” that cannot give rise to standing, as Plaintiffs

have no credible fear of prosecution; and (3) HB142 is not vague

— it repeals HB2, preempts state agencies from regulating access

to multiple occupancy restrooms, showers, or changing facilities,

and     preempts    local   governments     from   enacting    or   amending

ordinances regulating public accommodations and private employment

practices.      (Doc. 234 at 2–7.)

       The UNC Defendants similarly argue that (1) Plaintiffs do not

actually face uncertainty as a result of HB142; (2) even if they

did, uncertainty about the meaning of a law is not an injury in

fact; and (3) anxiety about the application of state trespass laws

does not establish standing to bring claims against HB142.13            (Doc.

223 at 8–12.)

       In certain circumstances, a plaintiff’s allegations of fear

of future prosecution may satisfy the injury-in-fact requirements

for prospective relief:

       [T]here is a sufficiently imminent injury in fact if
       plaintiffs allege an intention to engage in a course of
       conduct   arguably   affected  with   a   constitutional
       interest, but proscribed by a statute, and there exists
       a credible threat of prosecution thereunder.     [I]t is
       not necessary that [a plaintiff] first expose himself to
       actual arrest or prosecution to be entitled to challenge



13The UNC Defendants also argue that the court’s justiciability analysis
in an earlier order dealing with HB2 (Doc. 127) militates against the
conclusion that Plaintiffs have standing to bring claims against the UNC
Defendants here (Doc. 223 at 13–14).

                                      22



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      a statute that he claims deters the exercise of his
      constitutional rights.

Kenny, 885 F.3d at 288 (citations and internal quotation marks

omitted) (second and third alterations in original).14           Whether the

injury is alleged to be sufficiently imminent or an ongoing injury

in   fact,   Plaintiffs    must   show    that   their   fear   of   criminal

prosecution is “not imaginary or wholly speculative” in order for

that fear to give rise to standing.        Babbitt v. United Farm Workers

Nat’l Union, 442 U.S. 289, 302 (1979).           In all cases of this type,

then, the threat of prosecution must be               both “credible”       and

“immediate.”     EQT Prod. Co. v. Wender, 191 F. Supp. 3d 583, 591

(S.D. W. Va. 2016), aff’d, 870 F.3d 322 (4th Cir. 2017) (citations

omitted); see also id. (noting that a plaintiff must “show more

than the fact that state officials stand ready to perform their

general duty to enforce laws” (quoting Doe v. Duling, 782 F.2d

1202, 1206 (4th Cir. 1986))).        For the standing analysis, as with

the other bases for Defendants’ motions to dismiss, the court

“accept[s] all properly pled factual allegations in the complaint



14 In the same case, the Fourth Circuit noted a second method of
establishing injury in fact: a “sufficient showing of self-censorship,
which occurs when a claimant is chilled from exercising his right to
free expression.” Kenny, 885 F.3d at 288 (quoting Cooksey v. Futrell,
721 F.3d 226, 235 (4th Cir. 2013)). As its wording makes clear, this
latter standard for an ongoing (as opposed to imminent) injury in fact
is confined to First Amendment cases, where the “standing requirements
are somewhat relaxed.”   Cooksey, 721 F.3d at 235.    The standard for
ongoing injury in fact in non-First Amendment cases based on a fear of
future government action is explained in Clapper v. Amnesty Int’l USA,
568 U.S. 398 (2013), and is discussed and applied below.

                                     23



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as true and construe[s] all facts in the light most favorable to

the plaintiff.”    Doe v. Va. Dep’t of State Police, 713 F.3d 745,

752 (4th Cir. 2013).

     Here,   Plaintiffs   fail    to    demonstrate    that   their     claims

against HB142 based on legal uncertainty meet any of the three

bases for standing.

     As to the alleged injury in fact, the court first notes that

HB142 says nothing about Plaintiffs’ ability to use any facility

of any kind, nor does it regulate Plaintiffs in any other way.

This accords with the statement of Governor Cooper, quoted in the

Fourth   Amended   Complaint,    that    there   is   currently   “no    North

Carolina state law barring the use of multiple occupancy bathroom

facilities in accordance with gender identity.”           (Doc. 210 ¶ 15.)

Plaintiffs respond by alleging a credible fear of prosecution under

other state statutes — namely, the second-degree trespass statute.

See N.C. Gen. Stat. § 14-159.13.          This argument could certainly

have been made during the time that HB2 was in force, since HB2

gave legal import to the gender-specific placards on bathroom

doors.   (See Doc. 127 at 25–27 (“Although UNC has not changed the

words and symbols on its sex-segregated facilities, the meaning of

those words and symbols has changed as a result of [HB2].”              Id. at

26.).)   Under HB2, multiple occupancy bathrooms were required to

be designated for use only by persons of the same “biological sex,”

where that term was defined as “[t]he physical condition of being

                                    24



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male or female, which is stated on a person’s birth certificate,”

HB2 §§ 1.2–1.3.       But HB2 has been repealed.          Its replacement,

HB142, requires nothing of the kind.

     Indeed, HB142 returns Plaintiffs to the status quo ante — the

very position that, until now, they have consistently asserted to

be their preferred remedy in this case.             (Doc. 103 at 6–8, 20

(stating at preliminary injunction hearing that “[t]here was no

record prior to the passage of [HB2] of problems being caused in

North Carolina . . . by transgender people using restrooms and

changing facilities consistent with their gender identity,” that

“the status quo was fine,” and that “[t]he status quo was working

for transgender people in that they . . . could use common sense”

about which restrooms to use).)           Plaintiffs’ repeated assertions

along these lines also accord with their inability to cite a single

case in North Carolina of a transgender individual being prosecuted

for using the restroom that corresponded to his or her gender

identity,   despite    the   fact   that    at   least   “some   transgender

individuals have been quietly using bathrooms and other facilities

that match their gender identity” for years.              (Doc. 127 at 3.)

Given that HB142 repealed HB2 and its biological-access language,

the status quo that the Plaintiffs requested — at least insofar as

it relates to state and local interpretation of legal access to

gender-specific restrooms — has been restored.           The relief sought

by Plaintiffs earlier in this litigation cannot now transform into

                                     25



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an injury in fact that gives rise to standing.

     In response, Plaintiffs argue that as a result of the series

of events giving rise to (and including) this litigation, there is

a heightened political animosity towards transgender individuals

regarding their access to bathrooms, such that the likelihood of

the State’s trespass laws being used against them has increased.

Along these lines, Plaintiffs point to statements of certain

legislators and politicians who have claimed that the State’s

trespass    laws   prohibit    transgender     access    to   restrooms   not

matching one’s biological sex.      (Doc. 210 ¶¶ 74, 246.)

     What   this    argument   attempts   to    do,     however,   is   graft

Plaintiffs’ fears about the State’s enforcement of its trespass

laws onto HB142.     As an initial matter, it is far from clear that

such a threat is sufficiently imminent.          As noted above, Governor

Cooper has represented the opposite conclusion (id. ¶ 15.), and

he, the Attorney General, and the rest of the Executive Branch

Defendants are urging the entry of a consent decree in this action

that would expressly and permanently preclude their prosecution of

a transgender individual for “us[ing] public facilities . . . when

such use conforms with the individual’s gender identity, and is

otherwise lawful.”     (Doc. 216-1 at 5 (also requesting that it be

ordered and adjudged that “[u]nder H.B. 142, and with respect to

public facilities that are subject to Executive Branch Defendants’

control or supervision, transgender people are not prevented from

                                    26



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the use of public facilities in accordance with their gender

identity”).)      In addition, and independent of any consent decree

request,    the   Governor      has   already   issued      an   Executive    Order

providing — among other protections — that “State agencies, boards,

commissions, and departments under the jurisdiction of the Office

of the Governor will not adopt policies or regulations barring,

prohibiting, blocking, deterring, or impeding any individual who

lawfully     uses      public    facilities     under       their    control     or

supervision,      in    accordance      with    that     individual’s        gender

identity.”15        N.C.    Exec.     Order     No.    24    (Oct.    18,     2017)

(https://files.nc.gov/governor/documents/files/EO24-

Policies%20Prohibiting%20DiscriminationHarassment%26Retaliation%

20in%20State%20EmploymentServicesContracts.pdf).

      To the extent Plaintiffs attempt to characterize their injury

not as imminent (the future prosecution itself) but as ongoing

(see, e.g., Doc. 210 ¶ 282 (describing Plaintiffs’ current delay

and avoidance of restroom use — in fear of future prosecution —

and noting the potentially “severe health consequences” of such


15The Executive Order also states that it “is subject to and does not
otherwise conflict with or abrogate existing state law.” The court takes
judicial notice of the Executive Order pursuant to Rule 201(b) of the
Federal Rules of Evidence. See Clatterbuck v. City of Charlottesville,
708 F.3d 549, 557 (4th Cir. 2013) (noting that, on a motion to dismiss,
“courts may consider ‘relevant facts obtained from the public record,’
so long as these facts are construed in the light most favorable to the
plaintiff along with the well-pleaded allegations of the complaint”
(quoting Papasan v. Allain, 478 U.S. 265, 283 (1986))), abrogated on
other grounds by Reed v. Town of Gilbert, 135 S. Ct. 2218 (2015).


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measures)), this characterization necessarily “fares no better.”

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 415 (2013).                          The

Supreme Court has been clear that plaintiffs cannot bootstrap their

way to an injury in fact by harming themselves in the present when

the future prosecution they allegedly fear is not sufficiently

imminent.      See   id.   at   416   (“[Plaintiffs]         cannot     manufacture

standing merely by inflicting harm on themselves based on their

fears    of   hypothetical      future        harm   that    is   not    certainly

impending.”).

      Moreover, even if the court were to assume that Plaintiffs

allege    a   sufficient     injury      in     fact,16     Plaintiffs    fail    to


16
  It is important to note that Plaintiffs expressly “do not challenge”
the use of gender-specific signs outside of restrooms and other
facilities. (Doc. 210 at 102 n.1.) Nevertheless, they argue that such
signs are sufficient under North Carolina law to provide “notice not to
enter the premises,” N.C. Gen. Stat. § 14-159.13, to transgender
individuals attempting to use the restroom corresponding with their
gender identity, thus exposing transgender individuals to prosecution
for trespass. (Doc. 233 at 30–32.) In support of this proposition they
cite In re S.M.S., 675 S.E.2d 44 (N.C. Ct. App. 2009). In that case, a
high school boy “r[a]n through” a girls’ locker room, causing
considerable havoc and leading to his subsequent prosecution for second-
degree trespass. Id. at 44–45. The North Carolina Court of Appeals
held that a “sign marked ‘Girl’s Locker Room,’” in conjunction with the
defendant’s “admission that he violated school rules by entering the
girls’ locker room” “was reasonably likely to give respondent notice
that he was not authorized to go into the girls’ locker room, pursuant
to [the second-degree trespass statute].” Id. at 46. The court need
not speculate on how a North Carolina court would address this issue in
the context of individuals using bathrooms in accordance with their
gender identity, were such an issue to ever arise. Suffice it to say
that the defendant in S.M.S. made no argument that he was attempting to
use a facility aligned with his gender identity (in fact, it does not
appear that he intended to “use” the facility in any ordinary or relevant
sense), and he admitted knowledge that his entry into the girls’ locker
room was against school rules. Moreover, at the hearing on the present
motions, the UNC Defendants expressly disclaimed the ability to regulate,

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sufficiently allege that such an injury is fairly traceable to any

act by any Defendant.         To meet the traceability requirement, an

injury must be “fairly . . . trace[able] to the challenged action

of the defendant,” as opposed to “result[ing] from the independent

action of some third party not before the court.”           Simon v. E. Ky.

Welfare Rights Org., 426 U.S. 26, 41–42 (1976).        “The traceability

requirement ensures that it is likely the plaintiff’s injury was

caused by the challenged conduct of the defendant.”            Friends for

Ferrell Parkway, LLC v. Stasko, 282 F.3d 315, 320 (4th Cir. 2002)

(emphasis added).

       HB142 does not regulate restroom access in any fashion;

indeed, it prohibits such regulation “except in accordance with an

act of the General Assembly.”        (Doc. 210 at ¶ 312.)    If Plaintiffs

fear    that   some   other    law   will   be   enforced    against   them

unconstitutionally, their remedy is to challenge that law — either

facially or as applied to them.

       In addition, as to their constitutional claims, Plaintiffs

fail to show that any alleged uncertainty injury — i.e., the

potential enforcement of some other law against them — could be

redressed by a favorable decision of this court.            As it pertains

to those claims, the Fourth Amended Complaint simply pleads for




by institutional rule or policy, whether transgender individuals may use
restrooms that align with their gender identity, as a result of HB142’s
prohibition on such regulations.

                                     29



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this court to strike down HB142 and/or find it unenforceable

against Plaintiffs. Even if the court granted this relief in full,

it would not redress Plaintiffs’ stated fears about the application

of state trespass laws against them.

     For    all   these   reasons,   therefore,   the   court   finds    that

Plaintiffs have failed to plausibly allege an injury in fact fairly

traceable to an act of any Defendant that is capable of being

redressed by a favorable decision of this court in this case.

Plaintiffs’ constitutional claims based on a theory of legal

uncertainty must therefore be dismissed.

     Plaintiffs’ Title IX (Count 6) and Title VII (Count 7) claims

against UNC are similarly based on the theory that Plaintiffs are

harmed by UNC’s failure to take action to ensure that Plaintiffs

may use restrooms and changing facilities consistent with their

gender identity.      (Doc. 210 ¶¶ 395–98, 403.)        Having found that

this alleged uncertainty does not create an injury in fact, the

court finds that UNC has not harmed Plaintiffs by refusing to take

the affirmative step of informing Plaintiffs that they will not be

subject to prosecution for using the restroom that aligns with

their   gender     identity.     This     conclusion    is   bolstered     by

representations by UNC Defendants’ counsel at the motion hearing

that they consider themselves preempted by HB142 from regulating

individuals’ access to restrooms consistent with their gender

identity.    As a result, Plaintiffs’ Title IX and Title VII claims

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will also be dismissed for lack of standing.

            2.    Injury by Preemption of Non-Discrimination Policies
                  and Ordinances

       Plaintiffs’ second claim of injury is that they are harmed by

HB142’s Section 2, which preempts regulation concerning access to

restrooms and other facilities by state agencies, departments, and

other political subdivisions of the State of North Carolina, as

well   as   by   Section   3’s   preemption   of   new   or   amended   local

government ordinances regulating access to public accommodations

and private employment practices.         (Id. ¶¶ 313–44.)       Plaintiffs

argue that these barriers prevent transgender individuals from

being able to access the legislative process and petition their

local governments, as well as school boards, universities, and

other branches of government, for non-discrimination protections.

(Doc. 233 at 20–21.) They argue that these barriers are themselves

injuries in fact. (Id. at 20 (“Encountering the barrier is the

injury that confers standing.”).)

       Intervenor-Defendants argue that Plaintiffs still have the

right to advocate for their preferred policies at the state level

under HB142, even if they will not be able to affect policy change

at the local level, and that HB142 does not create an unequal

barrier for Plaintiffs because anyone trying to enact a policy

regulating private employment practices or public accommodations,

or attempting to persuade a state agency to regulate access to


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restrooms, will face the same barriers Plaintiffs face.           (Doc. 234

at 5–6.)

      The UNC Defendants argue that HB142 — and thus the barriers

about which Plaintiffs complain — is not traceable to them because

the “University and President Spellings neither drafted, proposed,

voted on, passed, enacted, signed, nor ratified HB 142.              Nor do

they have the legal power to ‘clarify’ it.”          (Doc. 223 at 10.)17

      Generally, if a plaintiff can demonstrate that he or she has

the intention to take a particular lawful action that “has been

thwarted    by   official    action”    that   was   discriminatory,    that

plaintiff has demonstrated an injury in fact.                See Vill. of

Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 264

(1977) (finding that a plaintiff had standing to bring a claim

when the “injury [he] assert[ed] [wa]s that his quest for housing

nearer his employment ha[d] been thwarted by official action that

[wa]s racially discriminatory”).            Further, the denial of equal

treatment resulting from the imposition of a barrier that makes it

more difficult for a certain class of people to receive a benefit

than for those outside that class may create an injury in fact.

Ne. Fla. Chapter of Associated Gen. Contractors of Am. v. City of

Jacksonville, 508 U.S. 656, 666 (1993).          It is not necessary for




17 Although the UNC Defendants argue generally on behalf of both the
University and President Spellings, Plaintiffs’ equal protection claims
(Count 2) are only brought against President Spellings.

                                       32



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a plaintiff to show that he or she would have received a certain

benefit in order for that plaintiff to show an injury in fact by

way of a government barrier to seeking — or to seeking on “equal

footing” with members of other groups — the receipt of that

benefit.     Id. (“When the government erects a barrier that makes it

more difficult for members of one group to obtain a benefit than

it is for members of another group, a member of the former group

seeking to challenge the barrier need not allege that he would

have obtained the benefit but for the barrier in order to establish

standing.”).

       Viewed in the light most favorable to Plaintiffs, the Fourth

Amended Complaint alleges an injury in fact on Plaintiffs’ equal

protection claim. First, Plaintiffs claim that, if not for HB142’s

prohibition      on     local     anti-discrimination       ordinances     and

regulations,     they   “would    advocate    for   local   ordinances    that

prohibit discrimination in employment and public accommodations

based on sexual orientation and gender identity.” (Doc. 210 ¶¶ 83,

121, 156, 170, 192.)      Second — although they need not show this in

order to adequately demonstrate standing — Plaintiffs have claimed

that    at   least    some   of    the    localities   where   they      reside

(specifically, Carrboro, Chapel Hill, and Orange County) would

pass ordinances that “prohibit discrimination in employment and

public accommodations on the basis of sexual orientation and gender

identity” if they were permitted to do so.          (Id. ¶¶ 81, 170, 190.)

                                         33



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Finally, Plaintiffs allege that HB142 discriminates against them

on the basis of their transgender status.         (Id. at 278.)    Just as

a plaintiff in Arlington Heights demonstrated an injury in fact by

asserting that his attempt to find housing closer to his employment

was thwarted by discriminatory official action, Plaintiffs here

assert that HB142 has thwarted their attempts to lobby for, and

receive the benefits of, protective ordinances or regulations.

See 429 U.S. at 264.       While HB142 does not prohibit Plaintiffs’

efforts   at   advocacy,   it   plainly   makes   them   meaningless      by

prohibiting even the prospect of relief at the local level.          Thus,

HB142’s preemption of local regulation of public accommodations

and private employment practices, as well as agency regulation of

access to bathrooms and other facilities, creates an injury in

fact as to Plaintiffs. Northeastern, 508 U.S. at 666 (“The ‘injury

in fact’ in an equal protection case of this variety is the denial

of equal treatment resulting from the imposition of the barrier.”).

     Intervenor-Defendants      contend    that    Plaintiffs     have    no

“legally protected interest” in lobbying for local protective

ordinances or regulations (Doc. 225 at 6), and they cite the Fourth

Circuit’s decision in Friends for Ferrell Parkway, LLC v. Stasko,

282 F.3d 315 (4th Cir. 2002) in support of the proposition that

“the destruction of [plaintiffs’] opportunities to lobby for” a

benefit is not an injury in fact.       Id. at 324.   But Stasko was not

an equal protection case.       In Stasko, a proposed acquisition of

                                   34



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land by the U.S. Fish and Wildlife Service — in alleged violation

of certain environmental and other statutes — would have precluded

the potential construction of a parkway on that land.            Id. at 318–

19.      The plaintiffs there argued that the deprivation of the

opportunity to lobby for such a parkway, which would bring them

economic benefits if constructed, was an injury in fact.                     The

Fourth Circuit rejected this alleged injury because the likelihood

of the parkway being built was too “remote.”           Id. at 325.    As the

court noted: “[P]laintiffs cannot sidestep the requirements for

standing by recharacterizing a wholly speculative injury as a

diminished opportunity to prevent that injury when the facts reveal

the ‘opportunity’ itself to be just as tenuous.”            Id. at 324.

       In the instant case, however — as with equal protection cases

of this type — Plaintiffs are not merely “recharacterizing” one

injury (here, the lack of anti-discrimination ordinances) as a

diminished opportunity to prevent that injury through lobbying.

The Supreme Court has made clear that “the imposition of the

barrier” is itself the injury in “equal protection case[s] of this

variety,” not the plaintiff’s “ultimate inability to obtain the

benefit.”     Northeastern, 508 U.S. at 666; see Regents of Univ. of

Cal. v. Bakke, 438 U.S. 265, 280 n.14 (1978) (finding sufficient

injury in fact “in the University’s decision not to permit [the

plaintiff] to compete for all 100 places in the class” and noting

that “even if [the plaintiff] had been unable to prove that he

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would have been admitted in the absence of the [barrier], it would

not follow that he lacked standing”).18

      Intervenor-Defendants finally contend that HB142 cannot cause

Plaintiffs a “particularized” injury, Spokeo, 136 S. Ct. at 1548,

since HB142 “also forecloses proponents of [HB2’s] now-repealed

biological-access policy from seeking to enact it at the agency or

local level.”       (Doc. 225 at 5 n.4).        But this argument again

ignores those equal protection cases based on facially neutral

laws.    It is definitionally the case that a facially neutral law

will, “on its face,” treat all citizens “in an identical manner.”

Hunter v. Erickson, 393 U.S. 385, 391 (1969).          But in the instant

case, Plaintiffs allege that “the reality is that the law’s impact

falls on the minority.”       Id.   It is transgender individuals, not

biological-access      advocates,   who   allege   denial   of   the   equal

protection of the laws. See id. (“The majority needs no protection

against discrimination.”).        To the extent that biological-access

advocates    may   have   other   complaints   about   HB142’s   preemption



18Even if the court were to look through the imposition of the barrier
to Plaintiffs’ likelihood of gaining the benefit itself, Intervenor-
Defendants’ argument fails.    Unlike in Stasko, where the plaintiffs’
hoped-for achievement of their desired benefit was “pure conjecture” and
was based on “numerous, questionable assumptions” that were in opposition
to “[s]ubstantial evidence in the record,” 282 F.3d at 323, here
Plaintiffs point out that Charlotte had previously adopted just the sort
of anti-discrimination ordinance Plaintiffs desire; in fact, it was that
ordinance that sparked both HB2 and this litigation. Plaintiffs allege
in effect that, if not for HB142 (and certainly HB2 before it), the
Charlotte ordinance may still be in effect. (Doc. 210 ¶¶ 226–28, 233,
330.)

                                     36



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provisions,       those    complaints     do     not   preclude        transgender

individuals from asserting a particularized injury.                    See id. at

390–91 (“It is true that [the challenged law] draws no distinctions

among racial and religious groups.             Negroes and whites, Jews and

Catholics are all subject to the same requirements if there is

housing discrimination against them which they wish to end.                     But

[the challenged law] nevertheless disadvantages those who would

benefit    from    laws    barring     racial,      religious,    or    ancestral

discriminations . . . .”).

     Plaintiffs have also adequately alleged traceability as to

the Executive Branch Defendants, although not as to President

Spellings.      As to the Executive Branch Defendants, traceability is

easily    met   given     that   (1)   HB142   is    the   sole   cause    of   the

prohibition on new or amended local non-discrimination ordinances

and agency regulation of restroom access; (2) HB142 was negotiated

for and signed by Governor Cooper; and (3) the Executive Branch

Defendants are tasked with enforcing and upholding the law.                  (Doc.

210 ¶¶ 226, 229, 244.)           See Mich. Bldg. & Const. Trades Council,

AFL-CIO v. Snyder, 846 F. Supp. 2d 766, 777–78 (E.D. Mich. 2012)

(“The Court finds that the alleged injuries are fairly traceable

to the Defendant.         As Governor of Michigan, Defendant signed the

Act into law and is responsible for its enforcement. . . .

Plaintiffs’ alleged injuries are directly traceable to the Act .



                                        37



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. . .”).19

      However,    traceability     fails   with   respect    to   President

Spellings because she had and has nothing to do with the drafting,

passage, or enforcement of HB142.20         The injury relevant to this

equal protection claim is Plaintiffs’ effective preclusion under

HB142 from advocating for certain anti-discrimination protections

from entities like UNC, not the actual denial of such protections

on the part of UNC.      President Spellings has done nothing to deny

Plaintiffs the opportunity to advocate for anti-discrimination

protections relating to transgender bathroom access.               Instead,

President Spellings has only declined to give Plaintiffs the

affirmative permission they request; as discussed above, this is


19Further, no party has directly argued that Plaintiffs’ equal protection
claims are not traceable to the Executive Branch Defendants on the ground
their connection to the passage of HB142 is too attenuated. The mere
signature of a governor on a bill and his general duty to enforce state
laws is not always sufficient for the law’s impact to be traceable to
the Executive Branch. See Greater Birmingham Ministries v. Alabama, No.
2:15-CV-02193-LSC, 2017 WL 782776, at *5–7 (N.D. Ala. Mar. 1, 2017)
(finding that a challenged statute was not traceable to the governor who
signed the bill into law but was not “sufficiently responsible for [its]
administration”); NAACP v. California, 511 F. Supp. 1244, 1261–62 (E.D.
Cal. 1981), aff’d, 711 F.2d 121 (9th Cir. 1983) (finding that a
challenged constitutional amendment was not traceable to the governor
who signed the legislation proposing the amendment because the effect
of his signature was only to put the amendment on a ballot where voters
would decide whether the amendment should go into effect).         In the
instant case, however, Governor Cooper signed HB142 directly into law,
appears to have been involved in the negotiations that led to its
passage, and is presumably authorized to enforce it. (Doc. 210 ¶¶ 226,
229, 244). Thus, HB142’s prohibitions are sufficiently traceable to him
and the other Executive Branch Defendants.
20As previously stated, HB142 does not regulate individuals, nor does
it empower or require other parties to regulate individuals.      As a
result, President Spellings cannot enforce HB142 against Plaintiffs.

                                     38



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not an injury in fact.        As a result, since it cannot fairly be

said that Plaintiffs’ injuries relating to preemption of advocacy

for anti-discrimination protections were “caused by” President

Spellings’ conduct, Stasko, 282 F.3d at 320, the equal protection

claim brought in Count 2 against President Spellings should be

dismissed.

     Finally, the court finds that Plaintiffs have adequately

shown redressability.         While a merely “speculative” claim of

redressability is insufficient, Plaintiffs need only show that

that their alleged injury is “likely . . . [to] be redressed by a

favorable decision.” Lujan, 504 U.S. at 561 (citation and internal

quotation      marks   omitted)    (emphasis    added).     “[N]o    explicit

guarantee of redress to a plaintiff is required to demonstrate a

plaintiff’s standing.”        Equity in Athletics, Inc. v. Dep’t of

Educ., 639 F.3d 91, 100 (4th Cir. 2011).               Here, in so far as

Plaintiffs’ alleged injury is the barrier to anti-discrimination

advocacy created by HB142, and because the court has the power to

enjoin   the    enforcement   of    HB142,     Plaintiffs   have    adequately

demonstrated that a favorable decision of this court is likely to

provide them with the relief they seek.

     As a result, the court finds that the Plaintiffs have standing

to bring their Count 2 equal protection claim against the Executive

Branch Defendants.



                                      39



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       C.    Motion to Dismiss HB2 Claims for Lack of Ripeness

       Counts 3, 4, and 5 of the Fourth Amended Complaint challenge

HB2.    Plaintiffs contend that they have “adequately pled plausible

claims that HB142 is invalid, leaving open the possibility that

the HB2 claims will require resolution” in the event that HB142 §

1 is struck down and HB2 goes back into effect.            (Doc. 233 at 45–

46.)

       Intervenor-Defendants argue that Plaintiffs’ claims against

HB2    are   not   ripe   because   those   claims   “depend   on   the   Court

answering a whole host of preliminary questions.”               (Doc. 234 at

11.)    In order for Plaintiffs’ claims against HB2 to be ripe, they

argue, the court would first need to decide that “(1) one or more

provisions of HB 142 are unlawful and (2) the provision of HB 142

repealing HB 2 is not severable from HB 142’s unlawful provisions.”

(Doc. 225 at 22.)         Plaintiffs argue that while the court need not

consider their claims challenging HB2 in Counts 3, 4, and 5 at

this time, they remain ripe.

       Ripeness is a threshold issue and bids the court consider

whether “[a] claim . . . rests upon contingent future events that

may not occur as anticipated, or indeed may not occur at all.”

Texas v. United States, 523 U.S. 296, 300 (1998) (citation and

internal quotation marks omitted).          “Where an injury is contingent

upon a decision to be made by a third party that has not yet acted,

it is not ripe as the subject of decision in a federal court.”

                                       40



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Doe v. Virginia Dep’t of State Police, 713 F.3d 745, 758 (4th Cir.

2013)    (citation   omitted).      To    determine   ripeness,    the   court

“balance[s] the fitness of the issues for judicial decision with

the hardship to the parties of withholding court consideration.”

Id. (citation omitted).

      While any challenge to HB2 is currently premature, Defendants

have not demonstrated that such claims should be dismissed on

ripeness grounds.      Contingencies dependent on the future actions

of third parties are generally too attenuated to be ripe, but the

court itself is not a third party.          Should Plaintiffs succeed on

their remaining claims against HB142, there is a possibility —

however remote — that the court will be required in this action to

address Plaintiffs’ alternative claims against HB2.               Defendants’

motion to dismiss on ripeness grounds will therefore be denied at

this time.21    See Dimensional Music Publ’g, LLC v. Kersey ex rel.

Estate of Kersey, 448 F. Supp. 2d 643, 653 (E.D. Pa. 2006) (“Simply

because the outcome of one claim is contingent upon the outcome of


21
  Intervenor-Defendants (Doc. 225 at 10–11) and the UNC Defendants (Doc.
223 at 14–16) also argue that Plaintiffs’ HB142 claims should be
dismissed on ripeness grounds. Intervenor-Defendants’ arguments appear
to be directed at Plaintiffs’ claims based on legal uncertainty, not
their claims based on preemption of non-discrimination policies and
ordinances. (Doc. 225 at 10–11 (“Plaintiffs cannot solve this [ripeness]
issue by relying on their alleged uncertainty about the applicable law.”
Id. at 11.).) Because the court has already found that Plaintiffs lack
standing to pursue their legal uncertainty claims, Intervenor-
Defendants’ ripeness arguments as to HB142 need not be reached.
Similarly, because all of Plaintiffs’ claims against the UNC Defendants
based on HB142 are dismissed pursuant to this order, the UNC Defendants’
ripeness arguments as to HB142 also need not be reached.

                                     41



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another claim in the case does not mean that the first claim cannot

be alleged or that the first claim is not ripe.” (citations

omitted)).

     D.     Motion to Dismiss for Failure to State a Claim

     A    motion    to    dismiss    pursuant        to   Federal   Rule   of    Civil

Procedure     12(b)(6)      “challenges        the    legal     sufficiency     of   a

complaint.”       Francis v. Giacomelli, 588 F.3d 186, 192 (4th Cir.

2009) (citation omitted).             A complaint that does not contain

“sufficient factual matter, accepted as true, ‘to state a claim to

relief that is plausible on its face’” must be dismissed. Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly,    550    U.S.     544,    570   (2007)).         “A   claim   has     facial

plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.”                 Id. (citation omitted). “The

plausibility standard requires a plaintiff to demonstrate more

than ‘a sheer possibility that a defendant has acted unlawfully.’”

Giacomelli, 588 F.3d at 193 (quoting Iqbal, 556 U.S. at 678.)                        In

assessing    the    legal    sufficiency       of    a    complaint,    the   factual

allegations must be construed in the light most favorable to the

plaintiff.     Smith v. Smith, 589 F.3d 736, 738 (4th Cir. 2009).

However, “‘[t]he presence [ ] of a few conclusory legal terms does

not insulate a complaint from dismissal under Rule 12(b)(6) when

the facts alleged in the complaint’ cannot support the legal

                                          42



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conclusion.”       Gladden v. Winston Salem State Univ., 495 F. Supp.

2d 517, 521 (M.D.N.C. 2007) (quoting Young v. City of Mount Ranier,

238 F.3d 567, 577 (4th Cir. 2001)) (alteration in original).

            1.     Equal Protection Claims

       Plaintiffs argue that Section 2 has a disparate impact on

transgender individuals because, while it prohibits regulation of

restroom access by state agencies and various other entities, the

UNC Defendants continue to regulate access to restrooms by labeling

restrooms as for “men” and “women.”22         They argue that Section 2

creates “one rule for transgender individuals and another for non-

transgender individuals” because the UNC Defendants are willing to

regulate access to restrooms in one sense, but refuse to regulate

access to restrooms in the sense of clarifying which restrooms

transgender individuals are permitted to use.            (Doc. 233 at 40,

43.)    Plaintiffs argue that Section 3 has a disparate impact on

transgender individuals because it prevents the passage of local

ordinances       that   would   protect   transgender   individuals     from

discrimination.         (Doc. 233 at 40–43.)       They argue that this

preemption has a disparate impact because pre-existing ordinances

prohibiting discrimination on the basis of race, color, religion,


22
   Plaintiffs also claim that UNC Defendants are regulating access to
restrooms by providing maintenance to the restrooms, and “regulating
when and how a restroom is cleaned, or whether those with disabilities
would have access” to restrooms. (Doc. 233 at 40.) As noted previously,
Plaintiffs expressly do not challenge any Defendant’s practice of
maintaining separate men’s and women’s restrooms.     (Doc. 210 at 102
n.1.).

                                     43



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national origin, sex, or any other ground continue to be valid.

(Id. at 40.)      As such, Plaintiffs claim, they have a need to seek

protective ordinances that most others do not and that they are

disproportionately harmed by HB142’s barrier to their ability to

access the political process for greater protection.                    (Id. at 43–

44.)      Plaintiffs     then      argue       that   HB142     was    passed     with

discriminatory intent because: (1) it follows, and cannot be

considered without reference to, HB2, which was passed in response

to   Charlotte’s    adoption       of    an    anti-discrimination          ordinance

protecting transgender individuals; (2) statements from certain

North Carolina legislators demonstrate that HB142 was not intended

to repeal HB2’s prohibition on transgender individuals’ restroom

use in accordance with their gender identity; (3)                           HB142 was

introduced, debated, passed, and signed within a single day, which

departs    from    the    normal        procedural      sequence      and    “signals

discriminatory intent;” and (4) it has a disproportionate impact

on transgender individuals.             (Id. at 41–42.)

       Intervenor-Defendants argue that Section 3 does not create a

disproportionate impact on transgender individuals because (1) it

only   “centralizes      authority       to    set    certain   access      and   non-

discrimination policies;” (2) it is a facially neutral law that

does not disproportionately burden transgender individuals, but

benefits transgender individuals by repealing HB2; and (3) it does

not impose a more burdensome political process on transgender

                                          44



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individuals because it “equally forecloses local advocacy for the

biological-access policies previously embodied in HB 2.”                (Doc.

225 at 13–17.)      They argue that Section 2 has no enforcement

mechanism,   so   Plaintiffs’   concern   that   it   is    being   enforced

disparately is misplaced, and that state agencies have not been

“regulating” restroom access in violation of HB142 by providing

separate male and female facilities. (Doc. 234 at 7.) Intervenor-

Defendants also argue that HB142 was not passed with discriminatory

intent, but that it was the result of “a bipartisan political

compromise bringing advantages and disadvantages for everyone”

that the court should not “second-guess.”        (Id. at 3 n.1, 8.)

     A facially neutral law that has an adverse effect on a

minority group violates the equal protection clause only if it can

be shown that the law was passed with a discriminatory purpose.

See Crawford v. Bd. of Educ. of City of Los Angeles, 458 U.S. 527,

535–38 (1982); Washington v. Davis, 426 U.S. 229, 239–48 (1976);

Arlington Heights, 429 U.S. at 265 (“Proof of . . . discriminatory

intent or purpose is required to show a violation of the Equal

Protection   Clause.”).         Plaintiffs    “need        not   show    that

discriminatory purpose was the ‘sole[]’ or even a ‘primary’ motive

for the legislation, just that it was ‘a motivating factor.’” N.C.

State Conf. of NAACP v. McCrory, 831 F.3d 204, 220 (4th Cir. 2016)

(quoting Arlington Heights, 429 U.S. at 265–66). “When considering

whether discriminatory intent motivates a facially neutral law, a

                                   45



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court must undertake a ‘sensitive inquiry into such circumstantial

and direct evidence of intent as may be available.’”               Id. (quoting

Arlington Heights, 429 U.S. at 266).              Discriminatory intent “may

often   be   inferred     from    the   totality    of    the   relevant   facts,

including the fact, if it is true, that the law bears more heavily

on one [group] than another.” Davis, 426 U.S. at 242. But although

the fact that a facially neutral law has disparate impact on a

certain   group   is    relevant     to    the   equal    protection   analysis,

Arlington Heights, 429 U.S. at 266 (disparate impact “may provide

an important starting point”), disparate impact alone is not

sufficient to show discriminatory purpose:

     [W]e have not held that a law, neutral on its face and
     serving ends otherwise within the power of government to
     pursue, is invalid under the Equal Protection Clause
     simply because it may affect a greater proportion of one
     race than of another.    Disproportionate impact is not
     irrelevant, but it is not the sole touchstone of an
     invidious racial discrimination forbidden by the
     Constitution.

Davis, 426 U.S. at 242.          “[T]he ultimate question remains: did the

legislature enact a law ‘because of,’ and not ‘in spite of,’ its

discriminatory effect.”          McCrory, 831 F.3d at 220 (quoting Pers.

Adm’r of Mass. v. Feeney, 442 U.S. 256, 279 (1979)).

     If      Plaintiffs     succeed        at    making     this   showing     of

discriminatory intent, “the court proceeds to determine whether

the disparity in treatment can be justified under the requisite

level of scrutiny.”       Morrison v. Garraghty, 239 F.3d 648, 654 (4th


                                          46



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Cir. 2001).          “The level of scrutiny depends on the type of

classification.”         Sansotta v. Town of Nags Head, 724 F.3d 533, 542

(4th Cir. 2013).

       In conducting the discriminatory intent analysis, the court

uses as a guide the (nonexhaustive) factors set forth in Arlington

Heights: (1) “the [disparate] impact of the official action,” (2)

“[t]he historical background of the [challenged] decision,” (3)

“[t]he specific sequence of events leading up to the challenged

decision,” (4) “[d]epartures from the normal procedural sequence,”

and (5) “the legislative or administrative history.”               429 U.S. at

266–68.

       The first conclusion the court reaches in the discriminatory

intent analysis is that Plaintiffs have failed to plausibly plead

that the preemption of regulation of access to multiple occupancy

restrooms, showers, or changing facilities in Section 2 impacts

them disproportionately.             Plaintiffs’ argument as to Section 2

centers      on   the    theory   that   providing   “separate    ‘men’s’      and

‘women’s’ restrooms” by “maintaining or posting [gender-specific]

signs” constitutes regulation of bathroom access, and therefore

that transgender individuals are being treated unequally when

entities like UNC disclaim the ability to regulate bathroom access

as to transgender individuals.           (Doc. 233 at 8 n.1, 38, 43.)          But

while Plaintiffs are correct that Section 2 prevents state entities

like   UNC    from      regulating   access   to   restrooms,    the   court    is

                                         47



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unpersuaded that the mere provision of separate male and female

facilities is regulation of restroom access, in the relevant sense.

As the UNC Defendants point out, a regulation is an authoritative

rule with the force of law, and “[o]ne would not normally describe

a [gender-specific] sign outside a bathroom” as meeting this

description.    (Doc. 235.)     Although gender-specific bathroom signs

might properly have been considered to have the force of law under

HB2, which specifically gave legal import to such signs (see Doc.

127 at 26 (“[T]he meaning of those words and symbols [outside

bathrooms] has changed as a result of [HB2].”)), HB2 has been

repealed in full.     Its replacement, HB142, imbues gender-specific

bathroom signs with no such legal import.            And Plaintiffs do not

point to any institutional rule or policy on the part of UNC or

any other state entity that purports to assign legal import to

gender-specific      bathroom    signs.        Plaintiffs’      argument   also

contradicts Plaintiffs’ admission that they do not challenge the

historical convention of using “men’s” and “women’s” labels for

such facilities.      As a result, despite Plaintiffs’ claims to the

contrary, it does not appear that state entities like UNC are

“regulating” access to restrooms at all, much less regulating that

access in a way that impacts Plaintiffs disparately.

     Further, as outlined earlier in this opinion, see supra Part

II.B.1.,   it   is   not   a   harm   to    Plaintiffs   that   they   lack   an

affirmative statement from the UNC Defendants that Plaintiffs are

                                       48



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permitted to use the restrooms and facilities that align with their

gender identity.        Nothing in the language of Section 2 can be

construed      to   prevent   transgender   individuals   from   using      the

restrooms that align with their gender identity, as Plaintiffs

claim some had apparently been doing successfully prior to the

passage of HB2.       (See Doc. 127 at 3, 11 (noting that the record

showed that, prior to the passage of HB2, “transgender individuals

ha[d]   been    quietly   using   facilities   corresponding     with   their

gender identity”); Doc. 103 at 70 (Governor’s counsel stating, “my

guess is that some transgender individuals will continue to use

bathrooms that they always used and nobody will know”).)                     In

addition, the UNC Defendants stated at the motion hearing that

they are preempted from forbidding transgender individuals from

using the restrooms that are consistent with their gender identity.

Because Plaintiffs have not shown that Section 2 disparately

impacts them, their equal protection claim against Section 2

fails.23    See Morrison, 239 F.3d at 654 (“To succeed on an equal

protection claim, a plaintiff must first demonstrate that he has

been treated differently from others with whom he is similarly

situated.”).


23
  Because Plaintiffs fail to even show a disparate impact, which is the
“important starting point” of their equal protection claim, Arlington
Heights, 429 U.S. at 266, there is no need for the court to move on to
the other Arlington Heights factors. See Sylvia Dev. Corp. v. Calvert
County, 48 F.3d 810, 825 (4th Cir. 1995) (“[A]n equal protection claim
must be rooted in an allegation of unequal treatment for similarly
situated individuals.”).

                                     49



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     However, the court does find that Plaintiffs have plausibly

pleaded that the preemption of new or amended local “ordinance[s]

regulating   private       employment      practices   or     regulating      public

accommodations”      in Section 3       impacts them disproportionately.

Just like Section 2, Section 3 is facially neutral.                    Further, as

Intervenor-Defendants        point    out,     it   appears     that    the    State

normally   has     the    authority   to     centralize   its    decision-making

powers by withholding the power to make certain decisions from

local governments.        See Town of Boone v. State, 369 N.C. 126, 131

(2016) (“Local political subdivisions are mere instrumentalities

of the state for the more convenient administration of local

government, whose territory and functions rest in the absolute

discretion of the state.” (citations and internal quotation marks

omitted)); see also id. (“[T]he General Assembly has long enjoyed

plenary    power     to     create    political      subdivisions       of    local

government, establish their jurisdictional boundaries, and invest

them with certain powers”).           But it is an “unremarkable principle

that the State may not alter the procedures of government to

target” vulnerable minority groups, even when that alteration

might otherwise have an equally unremarkable legal basis. Schuette

v. Coalition to Defend Affirmative Action, 572 U.S. 291, 304 (2014)

(plurality opinion); see Hunter, 393 U.S. at 392 (noting that,

while “insisting that a State may distribute legislative power as

it desires . . . may generally be true,” it is equally true that

                                        50



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such a “principle[] furnish[es] no justification for a legislative

structure        which     otherwise   would      violate       the    Fourteenth

Amendment”).

     Here, while HB142 presents the same barrier to anyone else

seeking     a    protective    ordinance     as    it   does    to    transgender

individuals, Plaintiffs observe that transgender individuals have

a greater need for protective ordinances than other groups.                   This

is because protective statutes and ordinances that preexist HB142

— such as Charlotte’s ordinance prohibiting discrimination on the

basis of race, color, religion, national origin, or sex — continue

to be valid.         Thus, Plaintiffs plausibly allege they lack the

protections that individuals in other vulnerable groups enjoy.

Further,        although    Intervenor-Defendants        protest      that   HB142

“equally    forecloses       local   advocacy     for   the    biological-access

policies previously embodied in [HB2]” (Doc. 225 at 16–17), it is

transgender individuals who have depended on success at the local

level   (e.g.,      the    Charlotte   ordinance)       and    biological-access

proponents who have depended on success at the state level (e.g.,

HB2).     As a result, Plaintiffs have plausibly alleged that the

foreclosure of new or amended local non-discrimination ordinances

relating to public accommodations impacts them disparately.                   See

generally Hunter, 393 U.S. at 391 (“[A]lthough the law on its face

treats Negro and white, Jew and gentile in an identical manner,

the reality is that the law’s impact falls on the minority.                    The

                                        51



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majority needs no protection against discrimination and if it did,

a referendum might be bothersome but no more than that.”).                      As a

result, Plaintiffs plausibly allege that the inability to lobby

for,    and    receive,      greater    protections       at    the     local   level

disparately impacts them.          Cf. Romer v. Evans, 517 U.S. 620, 631–

36 (1996) (finding an equal protection violation where state

amendment      specifically      eliminated      protective       ordinances      for

homosexuals and prevented the passage of state or local laws

protective of such persons in the future).

       The court also finds that — at this preliminary stage —

Plaintiffs have plausibly alleged that Section 3 was passed with

discriminatory intent sufficient to permit their equal protection

claim against that section to proceed. The first Arlington Heights

factor, which is the disparate impact of the government action,

has already been shown above. See 429 U.S. at 266. While disparate

impact is not itself determinative of discriminatory intent, it is

evidence of such intent.         Davis, 426 U.S. at 242.

       The    second   Arlington       Heights   factor    is     the    “historical

background” of the challenged law, 429 U.S. at 267, which here

involves the passage of HB2. Plaintiffs allege that HB2 was passed

in   response     to   the    Charlotte       ordinance    that       granted   anti-

discrimination protections to transgender individuals (Doc. 127 at

13) which is some evidence that it — and now HB142, which similarly

precludes Charlotte-style ordinances — was motivated, at least in

                                         52



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part, by discriminatory intent.        In addition, they allege that the

General Assembly was presented with a “clean repeal” of HB2, but

chose instead to enact a law that preempted anti-discrimination

provisions.     (Doc. 210 ¶ 235.)

      The third Arlington Heights factor is “[d]epartures from the

normal procedural sequence.”        429 U.S. at 267.      Here, Plaintiffs

allege that HB142 was introduced, debated, passed, signed, and

went into effect within a single day.          (Doc. 210 ¶¶ 208–20.)         To

accomplish this, the legislature used a process known as “gut and

amend,” where an existing bill that had passed one house was

stripped out and used as the vehicle for passing HB142.                 (Id.

¶¶ 243–45.)           While      Intervenor-Defendants       argue,         not

unpersuasively, that this unusual procedural move was merely the

result of a “bipartisan political compromise” (Doc. 234 at 8) in

response to the immense time-pressure imposed on the State to pass

a legislative repeal of HB2,24 this argument depends on a factual

determination the court cannot make at this pleading stage, when

the facts must be viewed in the light most favorable to Plaintiffs.



24
   Public backlash in response to the passage of HB2 was substantial and
included the following: the National Basketball Association announced
it would withdraw the February 2017 NBA All-Star Game from Charlotte;
various cities and states in the United States barred publicly-funded
travel to North Carolina; and an estimated $3.76 billion in economic
activity was lost.     (Doc. 210 ¶ 223.)     In addition, the National
Collegiate Athletic Association announced that “North Carolina would be
ineligible to host any championships until 2022” unless HB2 was repealed
by March 30, 2017. (Id. ¶ 241.) HB142 was passed and went into effect
on March 29, 2017. (Id. ¶ 242.)

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El-Amin v. McDonnell, No. 3:12-CV-00538-JAG, 2013 WL 1193357, at

*4 (E.D. Va. Mar. 22, 2013) (“In short, [plaintiff] has alleged

both discriminatory intent and disparate impact, and . . . has

pleaded sufficient facts to state a claim for violation of the

Equal Protection Clause.      This conclusion has nothing to do with

the claim’s ultimate likelihood of success, on which the Court

expresses no view.       It instead has to do with the basic reality

that the Court may not weigh evidence at the motion to dismiss

stage, which is, in effect, what the defendants seek.”); Williams

v. Hansen, 326 F.3d 569, 587 (4th Cir. 2003) (King, J., dissenting)

(“Having   made    the   requisite   specific,    nonconclusory   factual

allegations   in   support   of   their   equal   protection   claim,     the

question of motive becomes one for the jury.”).

     The fourth and final Arlington Heights factor is the relevant

legislative history. 429 U.S. at 268. Although Plaintiffs catalog

a variety of statements made by North Carolina legislators “in the

press and through their social media” in regard to the purpose and

effect of HB142 (Doc. 210 ¶ 246), and proceed to argue that such

statements tend to “demonstrate[] discriminatory intent” (Doc. 233

at 42), such statements are not “legislative history.”         See Sylvia

Dev. Corp. v. Calvert County, Md., 48 F.3d 810, 819 (4th Cir. 1995)

(describing the fourth Arlington Heights factor as referencing

“contemporary statements by decisionmakers on the record or in

minutes of their meetings”        (emphasis added)).       As a result,

                                     54



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Plaintiffs have not alleged any relevant legislative history.

Nevertheless, this lack of legislative history may well be the

result of the expedited legislative process for HB142, which — as

discussed above — is itself relevant to the discriminatory intent

analysis.    (See Doc. 210 ¶ 244 (“The bill was the subject of

limited   debate   as   it   progressed   rapidly   through     the   General

Assembly . . . .”).)     In any case, Plaintiffs are not required to

show all four Arlington Heights factors in order to survive a

motion to dismiss. McCrory, 831 F.3d at 204 (noting that Arlington

Heights   merely   provides    “a   nonexhaustive   list   of    factors   to

consider in making [the discriminatory intent] inquiry”); see

Synovus Bank v. Coleman, 887 F. Supp. 2d 659, 668 (W.D.N.C. 2012)

(“[S]urviving a Rule 12(b)(6) motion remains a relatively low

bar.”)

     Given that Plaintiffs have plausibly alleged three of the

four Arlington Heights factors, that the fourth factor may be of

limited use when an expedited legislative process allows for little

debate, and that Plaintiffs need only show that discriminatory

intent was one of many motivating factors for the passage of

Section 3, the court finds Plaintiffs have plausibly alleged that

Section 3 was passed with discriminatory intent.              See generally

Arlington Heights, 429 U.S. at 265–66 (“Rarely can it be said that

a legislature or administrative body operating under a broad

mandate made a decision motivated solely by a single concern, or

                                     55



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even that a particular purpose was the ‘dominant’ or ‘primary’

one.     In fact, it is because legislators and administrators are

properly       concerned      with          balancing        numerous      competing

considerations that courts refrain from reviewing the merits of

their      decisions,    absent        a      showing       of     arbitrariness   or

irrationality.      But [unconstitutional] discrimination is not just

another competing consideration.                   When there is a proof that a

                              { "pageset": "Sc1
discriminatory purpose                            has been a motivating factor in

the decision, this judicial deference is no longer justified.”)

       Having determined that Plaintiffs have plausibly alleged

discriminatory intent, “the court proceeds to determine whether

the disparity in treatment can be justified under the requisite

level of scrutiny.”        Morrison, 239 F.3d at 654.                 There has been

considerable debate at the district and circuit court levels about

the applicable standard of scrutiny for classifications based on

transgender status, with the majority of courts to have considered

the    question    in   recent    years           finding   that    “heightened”   or

“intermediate” scrutiny applies.25                 See, e.g., Glenn v. Brumby, 663



25
    “Intermediate scrutiny requires the state to show that its
justification for the classification is ‘exceedingly persuasive.’”
M.A.B. v. Bd. of Educ. of Talbot Cty., 286 F. Supp. 3d 704, 718 (D. Md.
2018) (quoting United States v. Virginia, 518 U.S. 515, 533 (1996)).
“That is, the state is required to demonstrate that the classification
serves important governmental objectives and that the discriminatory
means employed are substantially related to the achievement of those
objectives. Hypothesized or post hoc justifications created in response
to litigation are insufficient to meet this burden, as are justifications
based on overbroad generalizations about sex.” Grimm v. Gloucester Cty.

                                           56



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F.3d 1312, 1315–20 (11th Cir. 2011); M.A.B. v. Bd. of Educ. of

Talbot County, 286 F. Supp. 3d 704, 718–22 (D. Md. 2018); Doe 1 v.

Trump, 275 F. Supp. 3d 167, 208–09 (D.D.C. 2017); Adkins v. City

of New York, 143 F. Supp. 3d 134, 139-40 (S.D.N.Y. 2015); but see,

e.g., Johnston v. Univ. of Pittsburgh of Commonwealth Sys. of

Higher Educ., 97 F. Supp. 3d 657, 668 (W.D. Pa. 2015) (applying

rational basis review).         The Fourth Circuit has not yet reached

the issue.      Plaintiffs argue that “strict or at least heightened

scrutiny” should apply (Doc. 233 at 44 n.23), and no Defendant has

offered an argument in its present briefing regarding the proper

standard of scrutiny.         Because the court finds at this stage that

Plaintiffs have sufficiently pleaded that HB142 fails rational

basis review, there is no need to resolve now whether a higher

standard of scrutiny should apply.26

       Rational basis review bids the court determine first “whether

the    end   that   the   state    seeks    to   achieve     is   a   legitimate

governmental      purpose.”       Sylvia,   48   F.3d   at    820.      In   this



Sch. Bd., 302 F. Supp. 3d 730, 749 (E.D. Va. 2018) (citations and internal
quotation marks omitted).
26
  In a prior order (Doc. 127), the court applied intermediate scrutiny
to HB2 in light of the fact that HB2 “classifie[d] citizens on the basis
of ‘biological sex’” on its face (Id. at 48–49). Since HB142 does not
facially classify individuals on the basis of sex — and indeed does not
facially classify or regulate individuals in any sense — the court’s
standard of scrutiny analysis from its prior order is of little help
here.   (See id. at 49 n.30 (expressly “declin[ing] to consider” the
questions of “whether transgender individuals qualify as a suspect class
for Equal Protection purposes” and “whether Plaintiffs have established
a sex stereotyping claim”).)

                                      57



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determination,      the   court       accords          some    deference      to    stated

legislative purposes.         See City of New Orleans v. Dukes, 427 U.S.

297, 303 (1976) (“[T]he judiciary may not sit as a superlegislature

to   judge    the   wisdom    or    desirability              of    legislative      policy

determinations.”)         Next,       the        court    determines        whether    the

challenged “classification utilized by the statute is ‘rationally

related’” to that legitimate governmental purpose.                            Sylvia, 48

F.3d at 820 (quoting City of Cleburne v. Cleburne Living Ctr., 473

U.S. 432, 440 (1985)). While the substantive standard for rational

basis review ultimately “requires the government to win if any set

of    facts      reasonably     may     be         conceived          to    justify     its

classification,” this lenient standard must not be allowed to

“defeat    the    plaintiff’s      benefit        of     the       broad   Rule    12(b)(6)

standard” at the motion to dismiss stage.                      Giarratano v. Johnson,

521 F.3d 298, 303 (4th Cir. 2008) (quoting Wroblewski v. City of

Washburn, 965 F.2d 452, 459 (7th Cir. 1992)).                         Ultimately, “[t]o

survive a motion to dismiss for failure to state a claim, a

plaintiff must allege facts sufficient to overcome the presumption

of rationality that applies to government classifications.”                             Id.

at 304 (quoting Wroblewski, 965 F.2d at 460).

      On the initial question of whether the stated governmental

purpose for HB142 is legitimate, the court is hampered by the fact

that the legislation is accompanied by no policy statement.                             Nor

do Intervenor-Defendants offer any possible governmental purpose

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for HB142’s preemption provisions in their briefing, noting only

that the law is the result of “a complex bipartisan compromise.”

(Doc. 234 at 3 n.1.)             It is in fact Plaintiffs who hint at the

most plausible purpose for HB142’s preemption provisions: that

they     are    intended    to    prevent    an   uneven   patchwork   of   anti-

discrimination laws across the State, in order to head off the

sort of uproar that led to — and followed — the passage of HB2.

(See Doc. 210 ¶ 331.)            To this notion, Plaintiffs respond:

       [T]he government cannot assert an interest in consistent
       statewide obligations given that (1) H.B. 142 in fact
       leaves in place local government non-discrimination
       ordinances that were enacted prior to the passage of
       H.B. 2 . . . and cities have announced their intent to
       continue enforcing them; (2) H.B. 142 does not preempt
       local governments, school boards, universities, or other
       state agencies or branches of government from enacting
       non-discrimination rules or regulations with regard to
       their own employees or students, or with respect to the
       services they provide to citizens; (3) H.B. 142’s
       “preemption” is specified to end in December 2020. In
       addition, there is no greater need for statewide
       uniformity with respect to antidiscrimination laws than
       there is with respect to numerous other laws as to which
       North Carolina does not prohibit local regulation and as
       to   which   there  are   significant   differences   in
       regulations of conduct among different parts of the
       state . . . .

(Id.)     As a result, Plaintiffs argue, any governmental purpose for

HB142’s preemption provisions resting on statewide uniformity can

only be a “pretext” for the same sort of discrimination that was

more explicit in HB2.             (Id.)     Given the lack of briefing from

Defendants on this issue, the lack of any clearly stated purpose

for    the     law,   the   plausible     arguments   made   by   Plaintiffs   in

                                          59



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opposition to the conceivable purpose of statewide uniformity, and

the standard of review at this early pleading stage, the court

finds that — while the question is a close one — Plaintiffs have

“allege[d]     facts   sufficient    to   overcome   the   presumption      of

rationality” as to Section 3 at this time.           Giarratano, 521 F.3d

at 304 (quoting Wroblewski, 965 F.2d at 460); see Mary’s House,

Inc. v. North Carolina, 976 F. Supp. 2d 691, 704 (M.D.N.C. 2013)

(“Plaintiffs do more than present conclusory assertions . . . .

The complaint therefore alleges sufficient facts to overcome the

presumption of rationality at this early stage. Whether Plaintiffs

can ultimately meet the high bar in proving Defendants lacked any

rational basis for the [challenged classification] remains to be

seen.”).

      In conclusion, because Plaintiffs have plausibly pleaded both

discriminatory intent and lack of a rational basis for Section 3,

their equal protection claim against Section 3 survives the motions

to dismiss as to the Executive Branch Defendants.27


27
   Intervenor-Defendants also argue that Plaintiffs’ claims should be
dismissed as contrary to the Tenth Amendment to the United States
Constitution (Doc. 225 at 21), which forbids the “commandeer[ing]” of
state legislatures by Congress “by directly compelling them to enact and
enforce a federal regulatory program.” New York v. United States, 505
U.S. 144, 161 (1992). Intervenor-Defendants base this argument on the
theory that Plaintiffs are asking the court to mandate that “North
Carolina officials . . . enact and administer access and non-
discrimination policies that do not now exist.” (Doc. 225 at 21.) Even
to the extent Plaintiffs’ requested relief could be characterized in the
manner Defendants suggest — which is at odds with Plaintiffs’ own
assertion that “Plaintiffs simply request that HB142 be struck down”
(Doc. 233 at 45) — an improperly-stated request for relief is not

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           2.    Nominal Damages Claims

     Finally, Plaintiffs allege that, regardless of the outcome of

their claims against HB142, they have claims for nominal damages

against the UNC Defendants for “violations of their Title IX and

Title VII rights . . . that occurred while HB2 was in force.”

(Doc. 233 at 11 n.3.)      In their brief, Plaintiffs relegate this

claim to a footnote and decline to make any argument or cite any

cases in support of their position.        (Id.)    The complaint is no

more illuminating.    (Doc. 210 ¶¶ 18, 391–403.)

     The UNC Defendants contend that under Titles VII and IX, a

defendant can be liable only for its own conduct, or the conduct

of its agents.     (Doc. 223 at 29.)       They note that, under this

principle, Plaintiffs may not “seek damages from the University

‘for the harms caused by H.B. 2’s violation of’” Titles IX and VII

because the UNC Defendants played no part in the enactment of HB2

and because Plaintiffs’ Fourth Amended Complaint does “not suggest

that the University in fact enforced HB 2 against any of [the



normally grounds for dismissal of a complaint. Charles v. Front Royal
Volunteer Fire and Rescue Dept., Inc., 21 F. Supp. 3d 620, 629 (W.D. Va.
2014) (“[T]he nature of the relief included in the demand for judgment
is immaterial to the question of whether a complaint adequately states
a claim upon which relief can be granted.” (citation omitted)); 5 Charles
Alan Wright et al., Federal Practice and Procedure § 1255 (3d ed. 2018)
(“[T]he selection of an improper remedy in the Rule 8(a)(3) demand for
relief will not be fatal to a party’s pleading if the statement of the
claim indicates the pleader may be entitled to relief of some other
type.”); see also Fed. R. Civ. P. 54(c) (“[A] final judgment should grant
the relief to which each party is entitled, even if the party has not
demanded that relief in its pleadings.”).       As a result, the Tenth
Amendment does not preclude Plaintiffs’ equal protection claim.

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Plaintiffs].”       (Id. (quoting Doc. 210 ¶ 18).)        The UNC Defendants

also argue that Plaintiffs have not demonstrated that any adherence

to HB2 would have violated Titles IX and VII, as both statutes

permit the maintenance of separate bathrooms, locker rooms, and

shower facilities on the basis of sex.            (Id. at 29–30.)

       The briefing on these claims is wholly inadequate for proper

resolution.        As such, decision on this issue will be withheld

without prejudice to the parties rearguing it upon further request

and further briefing.         Fed. R. Civ. P. 12(i).

III. CONCLUSION

       For the reasons stated, the court finds that Plaintiffs have

plausibly alleged an equal protection claim against Sections 3 and

428   of   HB142   as   to   the   Executive   Branch   Defendants   and   that

Plaintiffs’ potential claims against HB2 should not be dismissed

on ripeness grounds at this time.              The court defers ruling on

Plaintiffs’ claims for nominal damages for the alleged Title IX

and Title VII violations that occurred while HB2 was in effect

against them.       In all other respects, the motions to dismiss are

granted.



28
  Section 4 only states that “[t]his act is effective when it becomes
law” and that “Section 3 of this act expires on December 1, 2020.” HB142
§ 4. Since the operative language relevant to Plaintiffs’ equal
protection claim is found in Section 3, the foregoing opinion has treated
that section exclusively. But since Section 4 modifies Section 3, and
since Plaintiffs also make their equal protection claim against Section
4, that claim currently survives to the same extent it survives as to
Section 3.

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     IT IS THEREFORE ORDERED as follows:

     1.   Plaintiffs’ motion for leave to file the declaration of

Ericka Myers (Doc. 236) is DENIED.

     2.   The motion to dismiss by the UNC Defendants (Doc. 222)

is GRANTED IN PART and DENIED IN PART in that the claims in Counts

1 and 2 against them, as well as the claims in Counts 6 and 7

pertaining to HB142, are DISMISSED WITHOUT PREJUDICE, but that the

claims against them in Counts 3, 4, and 5 survive.              The court

reserves ruling on the nominal damages claims brought against them

for the period of time when HB2 was in effect against them as found

in Counts 6 and 7.

     3.   The motion to dismiss by Intervenor-Defendants (Doc.

221) is GRANTED IN PART and DENIED IN PART, in that the claims in

Count 1, along with the equal protection claim in Count 2 as to

Section 2 of HB142, are DISMISSED WITHOUT PREJUDICE, but that the

equal protection claim in Count 2 as to Sections 3 and 4 of HB142,

as well as the claims in Counts 3, 4, and 5, survive.

     4.   Any    party   wishing    to   submit    additional    briefing

regarding Plaintiffs’ nominal damages claims for the period of

time when HB2 was in effect against Plaintiffs must do so within

30 days of the issuance of this order.

     5.   As per the court’s prior order (Doc. 228), any party

wishing to submit additional briefing as to the joint motion for

entry of a consent decree must do so within 30 days of the issuance

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of this order.     In light of the court’s ruling in the present

order, the court directs all parties to meet and confer prior to

the filing of such additional briefing to determine whether any

agreement can be reached as to the effect of the court’s rulings

on the joint motion.

     6.   As per the court’s prior order (Doc. 226), the Executive

Branch Defendants are not required to serve an answer or other

responsive pleading to Plaintiffs’ Fourth Amended Complaint until

30 days after the court’s disposition of the joint motion for entry

of a consent decree.




                                           /s/   Thomas D. Schroeder
                                        United States District Judge

September 30, 2018




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